USDC IN/ND case 3:10-cv-00021-RLM-CAN document 1 filed 01/19/10 page 1 of 7
USDC IN/ND case 3:10-cv-00021-RLM-CAN document 1 filed 01/19/10 page 2 of 7
USDC IN/ND case 3:10-cv-00021-RLM-CAN document 1 filed 01/19/10 page 3 of 7
USDC IN/ND case 3:10-cv-00021-RLM-CAN document 1 filed 01/19/10 page 4 of 7
USDC IN/ND case 3:10-cv-00021-RLM-CAN document 1 filed 01/19/10 page 5 of 7
USDC IN/ND case 3:10-cv-00021-RLM-CAN document 1 filed 01/19/10 page 6 of 7
USDC IN/ND case 3:10-cv-00021-RLM-CAN document 1 filed 01/19/10 page 7 of 7
